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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA
                   CIVIL MINUTES - PRELIMINARY INJUNCTION HEARING

Phoenix Division

CV 16-03752-PHX-JJT                         DATE: 11/3/2016
Year Case No Initials

Title: Arizona Democratic Party     vs. Arizona Republican Party, et al.
      Plaintiff                         Defendants

HON: JOHN J. TUCHI

Deputy Clerk : Julie Martinez                   Court Reporter: Elaine Cropper

Michael Gottlieb and Sarah Gonski               Timothy LaSota, Kory Langhofer, Thomas Basile and
                                                Paul Jensen
Attorney(s) for Plaintiff(s)                    Attorney(s) for Defendant(s)


PROCEEDINGS:            X Open Court        Chambers           Other

1:32 p.m. Court convenes. This is the time set for Preliminary Injunction Hearing. Discussion held.
Opening Statements. 2:39 p.m. Court is in recess.

2:50 p.m. Court reconvenes. Robert Graham is sworn and examined. Witness is excused. Walter Opaska
is sworn and examined. Witness is excused. 3:50 p.m. Court is in recess.

4:01 p.m. Court reconvenes. Discussion held.

For reasons as stated on the record, IT IS ORDERED denying Plaintiff’s request for limited discovery.

IT IS FURTHER ORDERED reserving judgment for Defendant Mr. Stone and denying Defendant Stop
the Steal, Inc.’s motion to dismiss for lack of service and lack of jurisdiction.

IT IS FURTHER ORDERED that Defendant Stop the Steal, Inc. may file a response to Plaintiff’s
motion (Doc. 10) by 10:30 a.m. on 11/4/2016, to which Plaintiff may file reply by 12:30 p.m. on
11/4/2016.

IT IS FURTHER ORDERED taking this matter under advisement. Formal order to issue.



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5:49 p.m. Court adjourns.

                                                                Time in court: 3 hr 55 mins.
                                                                Start: 1:32 PM
                                                                End: 5:49 PM
